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                    UNITED STATES COURT OF APPEALS
                         FOR THE SIXTH CIRCUIT


JAMES C. DIMORA,                         )    CASE NO. 22-3549
                                         )
       Petitioner-Appellant,             )    APPELLEE’S MOTION TO REMAND
                                         )    DIMORA’S CASE FOR THE
        v.                               )    DISTRICT COURT TO DECIDE
                                         )    WHETHER TO ISSUE A
UNITED STATES OF AMERICA,                )    CERTIFICATE OF APPEALABILITY,
                                         )    OR ALTERNATIVELY, FOR THIS
       Respondent-Appellee.              )    COURT TO DECIDE WHETHER TO
                                         )    ISSUE THAT CERTIFICATE SUA
                                         )    SPONTE, AND REQUEST TO HOLD
                                         )    THE BRIEFING SCHEDULE IN
                                         )    ABEYANCE PENDING RULING



      Respondent-Appellee the United States of America, through undersigned

counsel, respectfully moves this Court to remand pro se Petitioner-Appellant

James C. Dimora’s appeal for the district court to decide in the first instance

whether to issue a certificate of appealability (“COA”), under 28 U.S.C.

§ 2253(c)(2); Federal Rule of Appellate Procedure 22(b); and Kincade v.

Sparkman, 117 F.3d 949, 953 (6th Cir. 1997).

      Dimora’s brief solely challenges the district court’s decision denying relief,

under 28 U.S.C. § 2255, on Counts 3, 7, 11, 14-15, 20-21, and 24-27. (Doc. 16:

Dimora’s Br., Page 27). Dimora previously filed a Section 2255 motion before the
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district Court. (R. 1162: Motion, PageID 32278). This Court previously issued a

certificate of appealability allowing Dimora to appeal the district court’s resolution

of some, but not all, of the claims that he made regarding certain counts of

conviction. (Case No. 18-4260, Doc. 9-2: Order, Pages 5-7). This Court affirmed

some of those claims, but remanded for the district court to consider whether an

instructional error under McDonnell v. United States, 136 S. Ct. 2355, 2371

(2016), had a substantial and injurious effect or influence on the jury’s verdicts

concerning the Hobbs Act extortion (Counts 3, 7, 11-15, 20-21, and 24-27) and tax

charges (Counts 34-37). Dimora v. United States, 973 F.3d 496, 505-07 (6th Cir.

2020) (per curiam) (“Dimora II”). The district court then found that the

instructional error substantially influenced the jury’s verdicts only on

Counts 12-13, which it vacated, and resentenced Dimora de novo on all remaining

unaffected counts, resulting in a combined 276-month sentence. (R. 1226:

Opinion, PageID 33426, 33432; R. 1233: Amended Judgment, PageID 33481-82).

Dimora’s present claims do not challenge the new sentence that the district court

imposed. Instead, he seeks to challenge the district court’s substantive denial of

Section 2255 relief on Counts 3, 7, 11, 14-15, 20-21, and 24-27.

      Unlike an appellant who challenges a sentence following resentencing under

28 U.S.C. § 2255(b), which Dimora does not do here, Dimora’s request that this

Court review the merits of his Section 2255 claims requires a COA under Section


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2253(c)(1) to proceed on appeal. See United States v. Burton, 802 F. App’x 896,

904 (6th Cir. 2020). Therefore, this Court should remand this matter to the district

court to consider whether to issue the required COA.

      In the alternative, since Dimora lacks the required COA to challenge the

district court’s decision denying Section 2255 relief, the government requests that

this Court determine whether to issue a COA sua sponte, under Appellate Rule

22(b), and decline to issue one, for the reasons further outlined below.

      The government respectfully requests that this Court hold the briefing

schedule in abeyance pending resolution of this motion.


                         STATEMENT OF THE FACTS

      A.     Introduction.

      Former Cuyahoga County Commissioner Dimora and his codefendant,

Michael Gabor, were convicted in 2012 of “39 violations of federal anti-corruption

laws stemming from their participation in a slate of bribery and fraud schemes

involving various Cleveland-area favor-seekers.” United States v. Dimora,

750 F.3d 619, 623 (6th Cir. 2014) (“Dimora I”). Meals, prostitutes, id. at 629,

“[e]xpensive trips to Las Vegas in exchange for county patronage, thousands of

dollars in cash in exchange for government jobs, extensive home improvements . . .

[approximating] $30,000 in exchange for public construction contracts—these and

other this-for-that arrangements were more than kindly gestures, more than mere


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‘pleases’ and ‘thank yous,’ among friends.” Id. at 623. “The jury instead found,

after a 37-day trial, that the evidence showed Dimora and Gabor participated in a

host of corrupt bargains and arrangements prohibited by federal law.” Id.

      On collateral review, this Court remanded Dimora’s case to the district court

to apply a harmless-error analysis to his Hobbs Act extortion convictions on

Counts 3, 7, 11-15, 20-21, and 24-27, based on an instructional error at his jury

trial concerning the “official act” definition in light of the intervening decision in

McDonnell, 136 S. Ct. at 2371, before examining “any cumulative effect.”

Dimora II, 973 F.3d at 507. The district court conducted that review and granted

relief on two of those convictions, vacating Counts 12-13. (R. 1226: Opinion,

PageID 33432). It denied relief on the other counts, and resentenced him. (Id.,

PageID 33398-422, 33427-32; R. 1233: Amended Judgment, PageID 33481-82).

      Dimora does not appeal his new sentence. Instead, he seeks to appeal the

district court’s remand decision substantively denying post-conviction relief on the

convictions other than Counts 12-13.1 Thus, although the district court did

resentence him, the claims he raises require a COA, which he did not obtain. Thus,

they are unauthorized. This Court should remand the matter to the district court to




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      Dimora’s “appeal only addresses . . . Counts 3, 7, 11-15, 20-21 and 24-27.”
(Doc. 16: Dimora’s Br., Page 27).

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consider whether Dimora meets the authorization standard or, alternatively,

consider that question itself.

      B.     Dimora Is Charged And Convicted of Violating Federal
             Anti-Corruption Laws Stemming From His Bribery and Fraud
             Schemes.

      On September 7, 2011, a Northern District of Ohio grand jury indicted

Dimora, in a third superseding indictment, charging him with the following crimes:

                 • RICO conspiracy under 18 U.S.C. § 1962(d)
                   (Count 1);

                 • conspiracy to commit mail fraud and honest
                   services mail fraud under 18 U.S.C. §§ 1341, 1346
                   and 1349 (Counts 2 and 9);

                 • mail fraud under Section 1341 (Count 30);

                 • conspiracy to commit wire fraud and honest
                   services wire fraud under 18 U.S.C. §§ 1343, 1346
                   and 1349 (Count 16);

                 • Hobbs Act conspiracy and Hobbs Act offenses
                   under 18 U.S.C. § 1951 (Counts 3, 7-8, 11-15,
                   21-27);

                 • conspiracy to commit bribery concerning programs
                   receiving federal funds under 18 U.S.C. § 371
                   (Counts 4 and 17);

                 • bribery concerning programs receiving federal
                   funds under 18 U.S.C. §§ 666(a)(1)(B) and 2
                   (Counts 5-6, and 18-19);

                 • conspiracy to obstruct justice under 18 U.S.C.
                   §§ 371 and 1512 (Count 28);




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                • obstructing a federal investigation under 18 U.S.C.
                  §§ 1519 and 2 (Count 29); and

                • making false statements on tax returns under
                  26 U.S.C. § 7206(1) (Counts 34-37).

(R. 444: Third Superseding Indictment, PageID 9630). Dimora proceeded to a jury

trial on January 12, 2012, and was convicted on all but Count 30 on March 9,

2012. (R. 738: Verdict, PageID 17116). The district court granted a judgment of

acquittal on Count 10. (R. 930: Opinion, PageID 18881).

      C.    This Court Affirms Dimora’s Convictions On Direct Appeal And
            The District Court Initially Denies Dimora’s Section 2255
            Petition.

      This Court affirmed Dimora’s convictions on direct appeal. Dimora I,

750 F.3d at 632. Four years later, however, the Supreme Court decided

McDonnell, 136 S. Ct. at 2355. Dimora then petitioned the district court to vacate

his convictions under 28 U.S.C. § 2255, claiming an instructional error had

occurred based on McDonnell. (R. 1162-1: Memorandum, PageID 32292-306).

The district court disagreed, (R. 1196: Opinion, PageID 33148-49, 33154-55), and

nevertheless further found that, even under a count-by-count analysis, any potential

error was harmless. (Id., PageID 33156-88). It further found that excluding

Dimora’s state ethics reports as trial evidence was proper under Federal Rule of

Evidence 403. (Id., PageID 33188-90). Having found no error warranting relief,




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the court denied Dimora’s Section 2255 petition, (id., PageID 33195), and declined

to issue a COA on November 2, 2018. (R. 1199: Order, PageID 33201).

      D.     This Court Grants A Limited COA, And Upon Review, Issues A
             Limited Remand For The District Court To Apply The Harmless
             Error Analysis To Some Counts Based On A McDonnell
             Instructional Error That Occurred At Dimora’s Trial.

      On May 27, 2019, this Court granted Dimora’s request for a COA

concerning the district court’s jury instructions on Counts 3, 7, 8, 11-15, and

20-27, but declined to expand the certificate to include Dimora’s arguments about

his convictions on Counts 1, 2, 4-6, 9, 16-19, and 28-29. (Case No. 18-4260, Doc.

9-2: Order, Pages 5-7). Since Dimora’s argument about the excluded ethics reports

was “intertwined with the jury-instruction,” this Court also granted a certificate

concerning whether the reports’ exclusion “was still harmless when combined with

any instructional error.” (Id., Page 7).

      On August 31, 2020, this Court vacated the district court’s judgment

denying Dimora Section 2255 relief and remanded for further findings limited to

Dimora’s convictions for Hobbs Act extortion (Counts 3, 7, 11-15, 20-21, and

24-27) and tax violations (Counts 34-37) because the Court found that the jury

instructions, understandably, did not comport with the Supreme Court’s later-

decided McDonnell decision that narrowed the term “official act” under federal

bribery law. Dimora II, 973 F.3d at 502-07. In reviewing the district court’s initial

harmless-error analysis, the panel further found that the court “relied on evidence

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sufficiency” and “focus[ed] on what a rational jury could have found,” rather than

whether the instructional error had a substantial and injurious effect or influence on

the jury’s verdicts. Id. at 505-06 (emphasis omitted). The panel therefore

remanded Dimora’s case to the district court to conduct a harmless-error analysis

“in the first instance” for the Hobbs Act extortion and tax offenses. Id. at 506.

      This Court excluded from the remand, however, three Hobbs Act

convictions (Counts 8 and 22-23) where this Court itself held that the instructional

error was harmless because those counts “relied exclusively on votes Dimora had

cast as commissioner to show ‘official acts,’” which still qualify post-McDonnell.

Id. at 506-07. The panel also declined to “decide whether the ‘cumulative effect’

of the instructional and evidentiary errors entitle[d] Dimora to relief,” but noted its

uncertainty about “whether this theory of prejudice is available to § 2255

petitioners.” Id. at 507. It left that question for the district court to consider after

assessing “the harmlessness of the instructional error independent of any

cumulative effect.” Id.

      E.     The District Court Applies The Harmless-Error Analysis And
             Denies Dimora Section 2255 Relief, Except On Counts 12-13.
      On remand, the district court conducted a count-by-count harmless-error

analysis and found that the evidence included: (1) schemes that exclusively

contained acts that satisfied McDonnell’s “official acts” definition (Counts 3, 14-

15, and 24-27); and (2) those with both qualifying official acts and non-qualifying

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other acts (Counts 7, 11-13, and 20-21). (R. 1226: Opinion, PageID 33398,

33409). It further found the first category schemes satisfied the harmless-error

test, given Dimora’s votes in the favor of bribers and other qualifying steps that

still constitute official acts under McDonnell, making clear that the instructional

error did not substantially influence the verdicts on those counts. (Id.,

PageID 33398-405). It further found only one scheme (Counts 12-13) in the

second category that did not satisfy the harmless-error test. (Id., PageID 33409-

430). In particular, because several actions in the Nicholas Zavarella scheme no

longer qualified as official acts, the court found “the matter so evenly balanced”

that it was “in virtual equipoise as to the harmlessness of the error” and vacated

Counts 12-13. (Id., PageID 33426).

      The district court also found that Dimora’s cumulative-error claim based, in

part, on the excluded state ethics reports, was not cognizable in Section 2255

proceedings. (Id., PageID 33427-28). Even if cognizable, relief was unwarranted

“where one of the two errors Dimora seeks to cumulate was an alleged evidentiary

error. (Id., PageID 33428 (citing Dimora II, 973 F.3d at 507)). It likewise failed

on the merits because the reports “actually implicated Dimora in wrong-doing,

would ‘open the door to evidence of ethics reporting requirements[,]’ and ‘likely

cause confusion, requiring a mini-trial on the disclosure laws governing elected

officials in the State of Ohio.’” (Id., PageID 33428 (quoting R. 930: Opinion,


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PageID 18911)). Moreover, even if not excludable under Evidence Rule 403, the

fact that “they implicated Dimora in wrongdoing consistent with the government’s

overall theory that he fraudulently received bribes in exchange for favors and

conspired with others to cover it up,” thus demonstrated that “any such evidentiary

error—even in combination with the Court’s instructional error—was [not] so

prejudicial as to render his trial fundamentally unfair.” (Id., PageID 33430

(cleaned up)).

      The district court further found that Dimora’s tax counts were supported

independently by his convictions on Counts 17 (conspiracy to commit bribery

concerning programs receiving federal funding), and on Counts 8 and 22-23

(Hobbs Act offenses) that “were unaffected by McDonnell.” (Id., PageID 33430-

31). Because the court granted Section 2255 relief, in part, by vacating

Counts 12-13, however, the court ordered de novo resentencing on all remaining

counts.

      F.     The District Court Conducts De Novo Resentencing And Does Not
             Issue A COA.
      At resentencing on June 8, 2022, the district court imposed a within-

Guidelines, 240-month sentence on Counts 1-3, 7-9, 11, 14-16, 20-27, and 29;

60 months on Counts 4, 17, and 28; 120 months on Counts 5-6 and 18-19; and

36 months on Counts 34-37, all to run concurrently with each other, except for

Counts 34-37, which the court ordered to run concurrently with each other and


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consecutive to all other counts. (R. 1237: Sentencing Trans., PageID 33531,

33565-66). Combined, Dimora received a total sentence of 276 months. (Id.,

PageID 33566). The court entered the final amended judgment the same day.

(R. 1233: Amended Judgment, PageID 33480).

      Dimora’s notice of appeal listed both his criminal and civil appeal case

numbers and said it was an appeal “from the final judgment entered in this action”

on June 8th. (R. 1235: Notice of Appeal, PageID 33493). He did not request or

obtain a COA from the district court’s decision on remand denying Section 2255

relief, however.

      Because Dimora’s present appeal is unauthorized, this Court should remand

his case to the district court for consideration about whether to issue a COA. In the

alternative, this Court should consider whether to issue a COA sua sponte. If it

does, it should decline to issue one because reasonable jurists would not debate

that the district court correctly applied the harmless-error analysis and properly

rejected a cumulative-error theory in denying Dimora Section 2255 relief.




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                                   ARGUMENT

I.    THIS COURT LACKS JURISDICTION OVER DIMORA’S CLAIMS
      SOLELY CHALLENGING THE DISTRICT COURT’S DECISION
      DENYING POST-CONVICTION RELIEF ON COUNTS 3, 7, 11, 14-
      15, 20-21, AND 24-27 BECAUSE DIMORA NEVER OBTAINED A
      COA FOLLOWING THE DISTRICT COURT’S FINAL AMENDED
      JUDGMENT.

      A.     Standard Of Review.

      “A matter requiring statutory interpretation is a question of law requiring

de novo review, and the starting point for interpretation is the language of the

statute itself.” Ajan v. United States, 731 F.3d 629, 631 (6th Cir. 2013) (cleaned

up). Plenary review therefore applies to whether Dimora’s appeal is authorized to

proceed. Word v. United States, 109 F. App’x 773, 774 (6th Cir. 2004) (applying

de novo review to district court’s decision dismissing federal prisoner’s petition for

lack of jurisdiction).

      B.     Dimora’s Appeal From The District Court’s Decision Denying
             Section 2255 Relief Is Unauthorized And, To Proceed, Requires A
             COA, Which He Lacks.
      Procedurally, if Dimora were challenging his new sentence following

resentencing under 28 U.S.C. § 2255(b), he would not need a COA.

United States v. Burton, 802 F. App’x 896, 904 (6th Cir. 2020). But since he is

solely challenging the district court’s analysis denying Section 2255 relief,

(Doc. 16: Dimora’s Br., Page 27), he must obtain a COA to proceed on appeal.

Burton, 802 F. App’x at 904. This warrants either a remand to the district court to

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consider whether to issue a COA in the first instance or, in the alternative,

consideration by this Court concerning whether to issue a COA sua sponte, under

28 U.S.C. § 2253(c)(1). The government believes a remand is required by binding

precedent in Kincade v. Sparkman, 117 F.3d 949, 953 (6th Cir. 1997), but

addresses both potential procedures in the event this Court disagrees.

      The federal post-conviction-relief statute grants district courts the authority

to “vacate, set aside or correct” a prisoner’s unlawful sentence. 28 U.S.C.

§ 2255(a). Upon a finding that a prisoner’s sentence is unlawful, a district court

may impose one of four possible remedies: (1) “discharge the prisoner,” (2) “grant

[the prisoner] a new trial,” (3) “resentence [the prisoner],” or “correct the

[prisoner’s] sentence.” Id. § 2255(b). “An appeal may be taken . . . from the order

entered on the motion as from a final judgment on application for a writ of habeas

corpus.” Id. § 2255(d); see also Burton, 802 F. App’x at 902.

      Here, the district court entered its final amended judgment on November 9,

2021, (R. 168: Amended Judgment, PageID 1152-59), which serves as the final

judgment for claims under Section 2255. This result is compelled by Andrews v.

United States, 373 U.S. 334, 339-40 (1963), in which the Supreme Court held that

a district court’s order vacating a prisoner’s sentence and ordering resentencing

under Section 2255 is not considered final and appealable until after the




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resentencing has occurred. See also United States v. Lawrence, 555 F.3d 254, 258

(6th Cir. 2009).

      If a petitioner, like Dimora, who is resentenced under Section 2255(b)

“seeks to ‘challenge the relief granted,’” he is in actuality “‘appealing a new

criminal sentence and therefore need not obtain a COA.’” Burton, 802 F. App’x at

904 (emphasis in original; quoting Ajan, 731 F.3d at 631). For instance, in Ajan,

this Court found that because the defendant was “‘challenging the relief granted—

i.e., whether the relief was appropriate under § 2255, whether the new sentence

was in conformity with the Constitution or Sentencing Guidelines, etc.—he [was]

appealing a new criminal sentence and therefore need not obtain a COA.” Ajan,

731 F.3d at 631 (cleaned up; emphasis in original; quoting United States v.

Hadden, 475 F.3d 652, 664 (4th Cir. 2007)). Unlike Ajan, however, Dimora is not

appealing from the relief the district court granted—de novo resentencing or the

reasonableness of that new sentence; instead, he is appealing from the relief the

court denied under Section 2255. (Doc. 16: Dimora’s Br., Page 27).

      In Burton, this Court decided the issue of whether a petitioner who is

resentenced under Section 2255(b) and who appeals the amended judgment needs a

COA to challenge the district court’s decision not to grant relief on some of his

Section 2255 claims. Burton, 802 F. App’x at 904. This Court agreed with the

circuits that “have unanimously concluded that a [COA] is needed for the part of


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the case that challenges the denial of collateral relief.” Id. (emphasis added;

collecting cases). Burton thus found that the appellant there, in challenging the

denial of habeas relief, was “appealing an aspect of his § 2255 proceeding and[, as

such,] must obtain a COA.” Id. (collecting cases). That conclusion applies here.

       Specifically, although Dimora may appeal from the district court’s amended

judgment on sentencing grounds—which he has not done—he may not pursue

collateral issues attacking his remaining convictions until he first obtains a COA

from the court’s decision denying Section 2255 relief. See id. at 903 (“a petitioner

may not appeal a ‘final order in a proceeding under section 2255’” unless a ‘circuit

justice or judge issues a certificate of appealability’” (quoting 28 U.S.C.

§ 2253(c)(1)). The issuance of a COA is a “jurisdictional prerequisite” under the

statute. Burton, 802 F. App’x at 903 (quoting Miller-El v. Cockrell, 537 U.S. 322,

336 (2003)). “[U]ntil a COA has been issued federal courts of appeals lack

jurisdiction to rule on the merits of appeals from habeas petitioners.” Miller-El,

537 U.S. at 336; see also Hohn v. United States, 524 U.S. 236, 248 (1998).

Accordingly, under Burton, Dimora must obtain a COA on his claims challenging

the denial of collateral relief.

       Dimora’s prior COA from the district court’s first, pre-remand decision

denying Section 2255 relief in 2018, cannot suffice as authorization to appeal from

the court’s new decision denying Section 2255 relief on remand in 2022.


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(Case No. 18-4260, Doc. 9-2: Order). Dimora previously sought a COA from this

Court under Appellate Rule 22(b), (id., Page 1), after the district court expressly

declined to issue one from its 2018 judgment entry that denied Section 2255 relief

altogether. (R. 1199: Order, PageID 33201-03; R. 1197: Judgment Entry,

PageID 33196). This Court issued a limited COA from that decision, (Case No.

18-4260, Doc. 9-2 Order, Page 6), which led to this Court’s conclusion that an

instructional error had occurred under McDonnell. Dimora II, 973 F.3d at 507.

Because the COA from the district court’s 2018 decision predated this Court’s

instructional-error finding and remand for further harmless-error findings, it

addresses different issues and therefore cannot substitute for a COA from the

district court’s subsequent harmless-error analysis on remand in 2022. The district

court’s 2022 harmless-error analysis constituted a new decision denying collateral

relief. Accordingly, Dimora must obtain a COA from that new ruling on the

collateral issues he seeks to raise.

      C.     This Court Should Remand Dimora’s Case For The District
             Court To Decide Whether To Issue A COA In the First Instance.

      The absence of a COA in these circumstances requires an application for a

COA to be considered first by the district court. See Kincade v. Sparkman,

117 F.3d 949, 953 (6th Cir. 1997). Indeed, Federal Rule of Appellate Procedure

22(b)(1) itself reflects that first-consideration requirement by specifying that, “If

the district judge has denied the certificate [from a Section 2255 proceeding], the

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applicant may request a circuit judge to issue it.” Like one petitioner in the

binding Kincade decision, 117 F.3d at 953, Dimora “has neither received nor been

denied a [COA]” by the district court. See Fed. R. Governing § 2255 Proceedings

11(a). Under Kincade’s binding precedent and Appellate Rule 22(b), he thus is

required to return to the district court once again for that COA determination in the

first instance. This Court therefore should remand his case for the district court to

make that determination.

      D.     In The Alternative, This Court Should Consider In The First
             Instance Whether To Issue A COA Sua Sponte.
      In the alternative, however, this Court should consider in the first instance

whether Dimora has met the standard for obtaining a COA. In particular, Burton

suggested that the Court may issue a COA sua sponte in limited, “unusual

circumstances,” which there, included that: (1) “[t]he parties neither applied for,

nor insist upon, a COA;” (2) Burton’s “notice of appeal indicated that appeal was

from the sentencing judgment rather than from the § 2255 judgment”; and (3) “the

issue to be resolved on appeal ha[d] changed entirely since the time of the district

court’s ruling,” namely, the enactment of the First Step Act; and (4) “[a]sking the

district court to decide whether to issue a COA when [the Court] would be inclined

to issue one regardless would be particularly pointless in [those] unusual

circumstances.” Burton, 802 F. App’x at 904. But Dimora’s appeal lacks at least

two of those “unusual circumstances.” Id.

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      First, Dimora’s notice of appeal listed his criminal and civil case numbers,

thus indicating he was appealing, in part, from the court’s Section 2255 ruling,

without specifying any issues he wanted certified for appeal in that case. (R. 1235:

Notice of Appeal, PageID 33493). Second, unlike Burton, the complained-of

issues he has raised in his appellant’s brief—the alleged harmfulness of an

instructional error under McDonnell and cumulative-error—have not changed

since the district court denied Dimora Section 2255 relief on nearly all counts in

2022. Accordingly, because the factors that Burton found merited a COA sua

sponte are not relevant here, a COA is unwarranted by this Court and should be

denied.

      E.      Dimora’s Claims Do Not Meet The Standard For A COA.

      Dimora’s claims challenging the district court’s findings about the

instructional error and his cumulative-error theory also do not satisfy the standard

for issuing a COA. To obtain a COA, Dimora must make “a substantial showing

of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); see also

United States v. Hardin, 481 F.3d 924, 926 n.1 (6th Cir. 2007); see also Fed. R.

App. P. 22(b)(1); Fed. R. Governing § 2255 Proceedings 11(a). He must also show

that reasonable jurists would find the district court’s assessment of the instructional

error’s harmlessness debatable or wrong. See Slack v. McDaniel, 529 U.S. 473,

484 (2000).


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      The government normally does not opine about whether the Court should

issue a COA unless asked to do so. Here, however, the government believes that

the district court’s extensive count-by-count analysis and the record clearly show

that no reasonable jurist would debate that the district court correctly applied the

harmless-error analysis when it concluded that the instructional error did not

substantially influence the jury’s verdicts on Counts 3, 7, 11, 14-15, 20-21, and

24-27, and in rejecting his cumulative-error theory. (R. 1226: Opinion,

PageID 33398-422). Thus, in the government’s view, no COA should issue.

             1.     Reasonable Jurists Would Not Debate the District Court’s
                    Correct Conclusion About the Harmlessness of the
                    Instructional Error.
      The district court correctly applied the harmless-error analysis in concluding

that the instructional error did not warrant relief on any counts at issue. In short,

for Counts 3, 14-15 and 24-27, which contained acts that exclusively satisfied

McDonnell, Dimora committed multiple qualifying official acts by voting on

issues to benefit his bribers and, during complained-of phone calls, letters, or

meetings, Dimora used his influence as a County Commissioner to pressure other

public officials to commit qualifying official acts. That left no grave doubt about

the instructional error’s harmlessness as to his conduct on those counts. (Id.).

      Further, even for counts that the district court found contained schemes with

mixed official acts and other acts (Counts 7, 11, and 20-21), the other acts paled in


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comparison to the magnitude and weight of Dimora’s clear-cut qualifying votes to

benefit bribers. (Id., PageID 33410-22). Those other acts included one non-

qualifying phone call each in the Ferris Kleem and Steven Pumper schemes, and

Dimora’s non-qualifying efforts to secure a United States Senator’s help

expediting the issuance of Visas in the Valentin scheme. (Id.).

      For Kleem (Count 7), for example, there were several qualifying schemes

that included Dimora’s votes in Kleem’s favor. (Id., PageID 33410-15). And

Dimora also was convicted of bribery concerning programs receiving federal funds

involving those same qualifying schemes, making “crystal clear that Dimora’s

conviction on Count 7 [was] predicated on the commission of acts that meet the

McDonnell definition,” and supported the court’s conclusion that the instructional

error was harmless on that count. (Id., PageID 33417).

      For Pumper (Counts 20-21), the court found that there were “eight of the

nine sub-schemes charged in these counts were firmly supported by conduct[,

namely several votes and other conduct,] that still qualifies as official acts post-

McDonnell.” (Id., PageID 33417-19). And, for Valentin (Count 11), the court

recognized that Dimora voted to enable Russo to “create a job—and, in fact, an

entire department—in his office for Valentin’s daughter.” (Id., PageID 33422; see

also id., PageID 33420). Like the Kleem and Pumper schemes, this still qualified

post-McDonnell and reasonably left the court with no grave doubt about the


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instructional error’s harmlessness concerning those few, minor non-qualifying acts.

Given the evidence as a whole, reasonable jurists would not debate the court’s

correct conclusion that the instructional error did not substantially influence the

jury’s verdicts on those or any other counts at issue.

             2.     Reasonable Jurists Would Not Debate the Court’s Correct
                    Conclusion that Dimora’s Cumulative-Error Claim Is Not
                    Cognizable in Section 2255 Proceedings and Nevertheless
                    Did Not Warrant Section 2255 Relief for the Harmless
                    Instructional Error and an Evidentiary Non-Error.

      Reasonable jurists also would not debate the correctness of the district

court’s conclusion that Dimora’s cumulative-error theory, based on the

instructional error and an evidentiary non-error, are not cognizable on collateral

review. (Id., PageID 33427); see also Dimora II, 973 F.3d at 507 (collecting cases

and expressing doubt about whether a cumulative error claim is cognizable on

appeal where “one of two claimed errors is an evidentiary error”); Buder v. Bell,

306 F.2d 71, 75-76 (6th Cir. 1962) (recognizing that “[r]arely would [evidentiary]

errors warrant a collateral attack on a judgment of conviction as being a denial of

due process of law” in habeas corpus proceedings); Moore v. Parker, 425 F.3d 250,

256 (6th Cir. 2005) (stating that “post-AEDPA, not even constitutional errors that

would not individually support habeas relief can be cumulated to support habeas

relief”); United States v. Brown, 528 F.3d 1030, 1034 (8th Cir. 2008) (rejecting a

“cumulative error theory of post-conviction relief” in Section 2255 proceedings).


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      Even if cognizable, relief nevertheless is unwarranted for a wholly unrelated

evidentiary decision excluding Dimora’s state ethics reports, as it had no bearing—

cumulatively or otherwise—on the trial court’s “official act” definition and did not

constitute error. The intervening McDonnell decision did not alter this Court’s

prior finding on direct appeal that excluding the ethics reports as hearsay, while

error, was harmless, given the reports’ irrelevance to Dimora’s intent when he

accepted things of value from bribers. Dimora I, 750 F.3d at 628-30.

Post-McDonnell, the reports still do not rebut an element of the charged offenses.

      The issue was Dimora’s concealment of his quid pro quo agreements, not his

associations, with bribers. To that end, Dimora’s inaccurate reports omitted the

names of several individuals who bribed him, Dimora I, 750 F.3d at 629, and all

companies that provided him free work in exchange for official acts. See, e.g.,

(R. 940-2: Ethics Reports, PageID 19036). These inaccuracies, combined with the

reports falsely representing the unspecified meals and things of value as “gifts,”

not bribes, therefore “implicated Dimora in wrongdoing consistent with the

government’s overall theory that he fraudulently received bribes in exchange for

favors and conspired with others to cover it up.” (R. 1226: Opinion,

PageID 33430). That supports this Court’s prior conclusion that admitting the

reports would have been “harmful.” Dimora I, 750 F.3d at 629 (emphasis in

original). Their probative value, if any, only would have added confusion to the


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reports’ prejudicial nature, thus warranting their exclusion under Evidence

Rule 403. (R. 1226: Opinion, PageID 33428).

      Accordingly, because reasonable jurists would not disagree with the district

court’s decision that the instructional error and unrelated evidentiary non-error did

not warrant relief on Counts 3, 7, 11, 14-15, 20-21, and 24-27, the government

contends that Dimora is not entitled to a COA concerning his claims. Thus, if this

Court reaches the issue itself, it should decline to issue a COA sua sponte.




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                                  CONCLUSION

      For the foregoing reasons, this Court should remand Dimora’s case to the

district court to decide whether to issue a COA in the first instance concerning his

claims challenging the district court’s decision denying Section 2255 relief on

Counts 3, 7, 11, 14-15, 20-21, and 24-27, or alternatively consider whether to issue

a COA sua sponte concerning any of his claims and decline to issue one.

                                              Respectfully submitted,

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    CERTIFICATION OF COMPLIANCE WITH WORD LIMITATION

      I hereby certify that the foregoing contains 5,077 words according to the

word-counting feature of Microsoft Word for Office 365 and complies with this

Court’s 5,200-word limitation for motions.




                                              /s/ Laura McMullen Ford
                                              Laura McMullen Ford
                                              Assistant United States Attorney


                           CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of February 2023, a copy of the

foregoing document was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. A copy of this filing

also will be mailed to pro se Petitioner-Appellant James C. Dimora at the

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